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    (601) 359-5600                                                                     Lab Report

    JEREMY T. RUSSELL
    21 Years Old Mala   DOBs 02/12/2000 RACEz Black or African American SEC LEVz MEDIUM L002 C      MED
    CLI 1
    Housing LOCI INACTIVE
                                                                             MDOC 82 201802


09/29/2021 - Lab Reportz Cannahidiol (CBD)ITHC RatIo,Ur, Amphetamines Screen, Urine
Providers Evelyn Dunn PMHNP-BC
Location of Cares Mississippi Department of Corrections

Patientz JEREMY T RUSSELL
IDZ 1100 27262303110
Notez All result statuses are Final unless otherwise noted.
Patient Notez PATIENT NOT FASTING
Testsz       (1) Cannabid.-LOl (CED)/THC RatiO,Ur (701907)
        Order Notez Clinical Informationz CCU20322219914 H-00462670               LM
    I   CBDzTHC Ratio              See report RATIO
          Unable to Calculate
          INTERPRETATIONI Indeterminate
          This test measures Cannabidiol (CBD) and
          Tetrahydrocannabinol (THC) and metabolites in urine. The
          CBDzTHC ratio is calculated using the sums of the respective
          metabolites and is intended to assist in differentiating the
          presence of Tetrahydrocannabinol (THC) metabolites due to
          the use of marijuana or medicinal THC from the presence of
          THC metabolites due to use of Cannabidiol (CBD) or hemp
          products that purportedly contain trace amounts of THC.
          CBDITHC
          Ratio          Interpretation
          )I10.0         Consistent with the use of CBD products only
          1.0 - 9.9      Indeterminate
          (1.0           Consistent with marijuana, medicinal THC or
                         mixed use
          Interpretive ranges are provided as guidance and should not
          be considered definitive. Interpretation of results should
          include consideration of all relevant clinical and
          diagnostic information.
          Analysis performed by chromatography with mass spectrometry.
          This test was developed and its performance characteristics
          determined by LabCorp. It has not been cleared or approved
          by the Food and Drug Administration.

Testsz        (2) Amphetamines Screen, Urine (074401)
I       Amphetamines, Urine        N ng/mL                    Cutoffe1000
          Negative
          Amphetamine test includes Amphetamine and Methamphetamine.

Notes An exclamation mark (1) indicates a result that was not dispersed into the
flowsheet.
Document Creation Datez 10/09/2021 7245 AM

(1) Order result statusz Final
Collection or observation date-timez 09/29/Z021 09240
Requested date-timez

                                               JEREMY 000309
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JEREMY T. RUSSELL
21 Years Old Male D052 O2/12/2000   RACEz Black or African American SEC LEVz MEDIUM LOCz C    MED
CLz 1
Housing Loci INACTIVE
                                                                           MDOC 82 201802


RGCQJPC date-timez O9/29/2021 00100
Reported date-timez 10/09/2021 08236
Referring Physicianz
Ordering Physicians E DUNN (edunn)
Specimen Sources
Sourcez 1100
Filler Order Numberz 27262803110 LAB
Lab sitez Performed Atz MX, MedTox Laboratories Inc 402 W County Road D, St Paul MN
551123522 Karla J Walker PhrmD    Phonei 8774745767
(2) Order result statusz Final
Collection or observation date-timer 09/29/2021 09140
Requested date-timer
Receipt date-timez 09/29/2021 00200
Reported date-timer 10/09/2021 08236
Referring Physicianz
Ordering Physicianz E DUNN (edunn)
Specimen Sources
Sourcez 1100
Filler Order Numberz 27262803110 LAB
Lab sitez Performed AC2 U1, LabC0rp OTS RTP 1904 TW Alexander Drive, RTP NC
277090153 Ntei Abudu PhD   Phonez 8008333984



The following results were not dispersed to the flowsheetz
                 See report RATIO, (F)
  CBDzTl-lC Ratio,
  Amphetamines, Urine, N ng/mL., (F)

Electronically Signed by Evelyn Dunn PMHNP-BC on 10/11/2021 at 2245 PM




                                           JEREMY 000310
